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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


___________________________________
                                   )
AMERICAN PUBLIC HEALTH ASSOCIATION;)
IBIS REPRODUCTIVE HEALTH;          )
INTERNATIONAL UNION, UNITED        )
AUTOMOBILE, AEROSPACE, AND         )
AGRICULTURAL IMPLEMENT             )
WORKERS (UAW); BRITTANY CHARLTON; )
KATIE EDWARDS; PETER LURIE; and    )
NICOLE MAPHIS,                     )
                                   )
                    Plaintiffs,    )         CIVIL ACTION NO.
          v.                       )         25-10787-WGY
                                   )
NATIONAL INSTITUTES OF HEALTH;     )
JAY BHATTACHARYA, in his official )
capacity as Director of the        )
National Institutes of Health;     )
UNITED STATES DEPARTMENT OF HEALTH )
AND HUMAN SERVICES; and ROBERT F. )
KENNEDY, JR., in his official      )
capacity as Secretary of the       )
United States Department of Health )
and Human Services,                )
                                   )
                    Defendants.    )
___________________________________)


___________________________________
                                      )
COMMONWEALTH OF MASSACHUSETTS;        )
STATE OF CALIFORNIA; STATE OF         )
MARYLAND; STATE OF WASHINGTON;        )
STATE OF ARIZONA; STATE OF            )
COLORADO; STATE OF DELAWARE;          )
STATE OF HAWAIʻI; STATE OF            )
MINNESOTA; STATE OF NEVADA;           )
STATE OF NEW JERSEY; STATE OF         )
NEW MEXICO; STATE OF NEW YORK;        )
STATE OF OREGON; STATE OF RHODE       )
ISLAND; and STATE OF WISCONSIN,       )
                                      )

                                     [1]
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                                   )
                                   )
                    Plaintiffs,    )         CIVIL ACTION NO.
          v.                       )         25-10814-WGY
                                   )
ROBERT F. KENNEDY, JR., in his     )
official capacity as Secretary of )
Health and Human Services;         )
UNITED STATES DEPARTMENT OF        )
HEALTH AND HUMAN SERVICES;         )
JAYANTA BHATTACHARYA, in his       )
official capacity as Director of   )
the National Institutes of Health; )
NATIONAL INSTITUTES OF HEALTH;     )
NATIONAL CANCER INSTITUTE;         )
NATIONAL EYE INSTITUTE;            )
NATIONAL HEART, LUNG, AND BLOOD    )
INSTITUTE; NATIONAL HUMAN GENOME   )
RESEARCH INSTITUTE; NATIONAL       )
INSTITUTE ON AGING; NATIONAL       )
INSTITUTE ON ALCOHOL ABUSE AND     )
ALCOHOLISM; NATIONAL INSTITUTE     )
OF ALLERGY AND INFECTIOUS          )
DISEASES; NATIONAL INSTITUTE OF    )
ARTHRITIS AND MUSCULOSKELETAL AND )
SKIN DISEASES; NATIONAL            )
INSTITUTE OF BIOMEDICAL IMAGING    )
AND BIOENGINEERING; EUNICE KENNEDY )
SHRIVER NATIONAL INSTITUTE OF      )
CHILD HEALTH AND HUMAN             )
DEVELOPMENT; NATIONAL INSTITUTE    )
ON DEAFNESS AND OTHER              )
COMMUNICATION DISORDERS;           )
NATIONAL INSTITUTE OF DENTAL       )
AND CRANIOFACIAL RESEARCH;         )
NATIONAL INSTITUTE OF DIABETES     )
AND DIGESTIVE AND KIDNEY           )
DISEASES; NATIONAL INSTITUTE       )
ON DRUG ABUSE; NATIONAL            )
INSTITUTE OF ENVIRONMENTAL         )
HEALTH SCIENCES; NATIONAL          )
INSTITUTE OF GENERAL MEDICAL       )
SCIENCES; NATIONAL INSTITUTE OF    )
MENTAL HEALTH; NATIONAL INSTITUTE )
ON MINORITY HEALTH AND HEALTH      )
DISPARITIES; NATIONAL INSTITUTE    )
OF NEUROLOGICAL DISORDERS AND      )

                                     [2]
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STROKE; NATIONAL INSTITUTE OF      )
NURSING RESEARCH; NATIONAL LIBRARY )
OF MEDICINE; NATIONAL CENTER FOR   )
ADVANCING TRANSLATIONAL SCIENCES; )
JOHN E. FOGARTY INTERNATIONAL      )
CENTER FOR ADVANCED STUDY          )
IN THE HEALTH SCIENCES; NATIONAL   )
CENTER FOR COMPLEMENTARY AND       )
INTEGRATIVE HEALTH; and CENTER     )
FOR SCIENTIFIC REVIEW,             )
                                   )
                    Defendants.    )
___________________________________)



YOUNG, D.J.                                          July 2, 2025


                FINDINGS OF FACT, RULINGS OF LAW, AND
            ORDER FOR PARTIAL SEPARATE AND FINAL JUDGMENT

I.    INTRODUCTION

      These consolidated actions are two of many in this

district, and across the Nation, claiming that current Executive

Branch policies, mostly through Executive Orders, have been

implemented by various agencies in violation of the

Administrative Procedure Act, statutory law, and the

Constitution.     Based upon the evidence presented at the hearing

on the APA claims and bench trial of the remainder, this Court

concludes what has been occurring at the Department of Health

and Human Services (“HHS”) and the National Institutes of Health

(“NIH”) with respect to its disruption of grants, the grant

making process and the pipeline of future scientists by



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forbidding by fiat certain topics, is on this Administrative

Record, illegal under the Administrative Procedure Act (“APA”).

       After this Court collapsed the separate motions for

preliminary injunctions into a single consolidated trial

pursuant to Rule 65(a), and after hearing on the Administrative

Procedure Act claims and a bench trial on the Constitutional

claims (Phase One), in both actions save -- for the APA delay

claims (Phase Two), the Court provides its findings of fact and

rulings of law pursuant to Rule 52(a) of the Federal Rules of

Civil Procedure as to Phase One.

II.    PROCEDURAL HISTORY

       In American Public Health Association et al. v. the

National Institutes of Health et al., Civ No. 25-10787 (“the

‘10787 Action”), the American Public Health Association

(“APHA”), Ibis Reproductive Health, the International Union,

United Automobile, Aerospace, and Agricultural Implement

Workers, Dr. Brittany Charlton, Dr. Katie Edwards, Dr. Peter

Lurie, and Dr. Nicole Maphis (collectively, “the APHA

Plaintiffs”) seek declaratory and injunctive relief against the

National Institutes of Health (“the NIH”), NIH Director Jay

Bhattacharya in his official capacity, and Secretary of Health

and Human Services Robert F. Kennedy, Jr. in his official

capacity.



                                        [4]
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     Similarly, in Commonwealth of Massachusetts et al. v.

Kennedy et. al., Civ No. 25-10814 (“the ‘10814 Action”), the

Commonwealth of Massachusetts along with 15 other States1

(referred to collectively as “the State Plaintiffs”), sue

Secretary Kennedy, the Director Bhattacharya, and the federal

institutes and centers2 (in both actions the defendants are

referred here collectively as “the Public Officials” and the

APHA Plaintiffs and State Plaintiffs referred to collectively as


     1  In addition to the Commonwealth of Massachusetts, the
State of California, the State of Maryland, the State of
Washington, the State of Arizona, the State of Colorado, the
State of Delaware, the State of Hawaiʻi, the State of Minnesota,
the State of Nevada, the State of New Jersey; the State of New
Mexico; the State of New York, the State of Oregon, the State of
Rhode Island; and the State of Wisconsin join as plaintiffs.
     2  Those ICs are: the National Cancer Institute, the
National Eye Institute, the National Heart, Lung, and Blood
Institute, the National Human Genome Research Institute, the
National Institute on Aging, the National Institute on Alcohol
Abuse and Alcoholism, the National Institute of Allergy and
Infectious Diseases, the National Institute of Arthritis and
Musculoskeletal and Skin Diseases, the National Institute of
Biomedical Imaging and Bioengineering, the Eunice Kennedy
Shriver National Institute of Child Health and Human
Development, the National Institute on Deafness and Other
Communication Disorders, the National Institute of Dental and
Craniofacial Research, the National Institute of Diabetes and
Digestive and Kidney Diseases, the National Institute on Drug
Abuse; the National Institute of Environmental Health Sciences,
the National Institute of General Medical Sciences, the National
Institute of Mental Health, the National Institute on Minority
Health and Health Disparities, the National Institute of
Neurological Disorders and Stroke, the National Institute of
Nursing Research, the National Library of Medicine, the National
Center for Advancing Translational Sciences, the John E. Fogarty
International Center for Advanced Study in the Health Sciences,
the National Center for Complementary and Integrative Health,
and the Center for Scientific Review.
                                     [5]
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“the Plaintiffs”).      Both actions arise from the NIH’s newly-

minted war against undefined concepts of diversity, equity and

inclusion and gender identity, that has expanded to include

vaccine hesitancy, COVID, influencing public opinion and climate

change.

       The actions were randomly reassigned to this Court on May

1, 2025.      Elec. Notice Reassignment, ECF No. 99.          The Court

collapsed the motions into a trial on the merits pursuant to

Rule 65(a) of the Federal Rules of Civil Procedure.3              The Court

has ruled on jurisdictional issues and a broader motion to

dismiss. See Mem. & Order, ‘10787 Action, ECF No. 84; Mem. &

Order, ‘10817 Action, ECF No. 105.

       The trial was divided into two phases largely based on the

APA claims, but each phase including other claims: Phase One,

APA Section 706(2) (primarily arbitrary and capricious claims)

and concomitant statutory and constitutional claims), and Phase

Two, Section 706(1) (primarily the delay claims).

       The Court held a full hearing and bench trial as to Phase

One.       At the conclusion of the trial of Phase One, the Court



       The Court acknowledges that its usual process is
       3

expeditious, it observes that while this matter has proceeded to
trial, injunctive relief has recently issued as to other actions
relating to HHS’s and the NIH’s actions. See New York v.
Kennedy, No. 25-CV-196-MRD-PAS, 2025 WL 1803260, at *13 (D.R.I.
July 1, 2025); Massachusetts v. Nat'l Institutes of Health, 770
F. Supp. 3d 277 (D. Mass. 2025) (Kelley, J.), judgment entered,
No. 1:25-CV-10338, 2025 WL 1063760 (D. Mass. Apr. 4, 2025).
                                       [6]
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ruled from the bench that the Challenged Directives taken as a

whole, were arbitrary and capricious final agency action, as

well as were the terminations of the grants in accordance

therewith; the Court took the rest of the matter under

advisement.   The Court now provides its complete findings of

fact and rulings of law as to so much of Phase One as pertains

to the APA claims raised therein and addressed from the bench4 as




     4 Time is of the essence in this equity case. For that
reason, the Court entered a partial judgment under Fed. R. Civ.
P. 54(b) to allow for a prompt appeal of a “clean” decision on
the APA claims. Partial Final Judgment, ‘10787 Action, ECF No.
138; Partial Judgment, ‘10814 Action, ECF No. 151. Quite
properly, the Public Officials have promptly appealed. Notice
of Appeal, ‘10787 Action, ECF No. 139; Notice of Appeal ‘10814
Action, ECF No. 152. The Public Officials sought a stay pending
the appeal, which this Court denied. See Order, ‘10787 Action,
ECF No. 147; Order, ‘10814 Action, ECF No. 160.

     On the ground, while the HHS continues to repeat its now-
familiar dirge of empty triumphalism, see
https://www.reuters.com/business/healthcare-
pharmaceuticals/federal-judge-says-trump-cuts-nih-grants-are-
illegal-politico-reports-2025-06-16/, the NIH appears to be
working in good faith to reassemble its grant-making machinery.
See e.g., https://www.nytimes.com/2025/06/25/science/nih-grant-
terminations-halted.html;
https://www.science.org/content/article/nih-will-reinstate-900-
grants-response-court-order;
https://www.masslive.com/news/2025/06/20-nih-grants-restored-to-
umass-system-after-judge-rules-against-trump-admin.html

     More is required to be done on Phase One. In addition to
ruling on Constitutional law questions, the Court must address:

     Racial Discrimination – Constitutionally Prohibited

     The Court has found as fact that there was pervasive racial
discrimination in selecting grants for termination. It needs to
                                     [7]
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fashion a permanent injunction to prevent any continuation of
this practice.

     Gender Discrimination – Statutorily Prohibited

     Speaking from the bench following closing arguments, the
Court had not sufficient time to analyze and reflect on the
administrative record such that it could make a finding of
gender discrimination. Now it has.

     The Court finds by a fair preponderance of the evidence
that the grant terminations here at issue demonstrate an
unmistakable pattern of discrimination against women’s health
issues. The Court thus needs to afford the parties a chance to
present evidence of the harm resulting from such terminations
and, in the absence of such evidence, whether this is one of
those cases “likely of repetition but evading review.”

     LGBTQ+ Discrimination – No Federal Remedy

     This Court’s factual finding that there has been extensive
discrimination against everyone whose lived experience of their
sexuality is in any way different from the executive orthodoxy
expressed in the President’s fiat, see Exec. Order 14168, 90
Fed. Reg. 8615 (Jan. 20, 2025), is fully affirmed. What changed
in the days following this Court’s finding is the Supreme
Court’s teaching concerning these matters. I had thought the
factual finding warranted a more complete equal protection
analysis. The decision in United States v. Skrmetti, 145 S. Ct.
1816, 1832 (2025) quite clearly forecloses such analysis.
Justice Barrett’s concern about imprecision in language
addressing these matters, and the skepticism of Justices Thomas
and Alito about the role of science, Id. at 1851 (Barrett, J.,
concurring); 1852 (Thomas, J., concurring), 1867 (Alito, J.,
concurring) leads this Court to conclude that, while here there
is federal government discrimination based on a person’s status,
not all discrimination is pejorative. After all, setting the
voting age, excluding felons from the franchise, and regulating
a young person’s access to obscene material, see Free Speech
Coal., Inc. v. Paxton, No. 23-1122, 2025 WL 1773625, at *9 (U.S.
June 27, 2025); Simmons v. Galvin, 575 F.3d 24, 42 (1st Cir.
2009), all “discriminate” based upon an individual’s status.
They all fall within the state’s police powers. This Court is
thus not warranted in considering injunctive relief as to an
officer of the United States on this ground (despite the fact
that these grant determinations were here arbitrary and
                                     [8]
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required under Rule 52(a) of the Federal Rules of Civil

Procedure.

III. FINDINGS OF FACT

             A.   The National Institutes of Health –- The World
                  Standard of Research

     The HHS is an Executive Agency of the United States.             See

generally, 42 U.S.C. § 3501a et seq.        The National Institutes of

Health is an agency of the HHS, and is comprised of 27 separate

institutes and centers (“ICs”) that focus on certain diseases or

human body systems.

     The NIH is run by its Director.        Under the Director, there

are five deputy directors: (1) Principal Deputy Director; (2)

Deputy Director for Intramural Research; (3) Deputy Director of

Extramural Research; (4) Deputy Director for Management; and (5)

Deputy Director for Program Coordination, Planning, and

Strategic Initiatives.      See https://www.nih.gov/about-

nih/organization/nih-leadership.

     Congress, through the Public Health Service Act (“the

PHSA”), 42 U.S.C. § 201 et seq., mandates that the Secretary of

HHS promote research “relating to the causes, diagnosis,




capricious under the APA) because, at least as to puberty
blockers, what is a denial of equal protection of the laws in
some states is sound public policy in Tennessee.
     This Court regrets serving up matters for appeal on a
piecemeal basis but the exigencies of an equitable action and
unfolding reality require it.
                                      [9]
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treatment, control, and prevention of physical and mental

diseases and impairments,” including by, among other things and

relevant here, offering “grants-in-aid to universities,

hospitals, laboratories, and other public or private

institutions, and to individuals.” 42 U.S.C. §241(a)(3).            The

NIH has similar statutory mandates.       42 U.S.C. §§ 282(b),

284(b).

     Congress requires the NIH operate predictably and with

stability, not just for its understanding of how the NIH is

fulfilling its duties to the American people, but also to

provide a predictable path for researchers.         Specifically,

Congress by statute requires the NIH to provide a “National

Institutes of Health Strategic Plan” (the “Strategic Plan”)

every six years in order “to provide direction to [the NIH’s]

biomedical research investments.” Id. §282(m)(1).

     The Strategic Plan’s purpose is manifold: providing

direction to NIH’s research investment, increasing efficiencies

across the ICs, leveraging scientific opportunity, and advancing

biomedicine.    Id. 5


     5   Section 282(m)(1) provides:

     [A]t least every 6 years . . . the Director of the
     National Institutes of Health shall develop and submit
     to the appropriate committees of Congress and post on
     the Internet website of the National Institutes of
     Health, a coordinated strategy (to be known as the
     “National Institutes of Health Strategic Plan”) to
                                    [10]
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     The Strategic Plan forms the foundation of the NIH’s work.

Indeed, NIH is mandated to “ensure that scientifically based

strategic planning is implemented in support of research

priorities as determined by the agencies of the National

Institutes of Health, and through the development,

implementation, and updating of” the Strategic Plan.           42 U.S.C.

§ 282(b)(5) (emphasis added).

     The Strategic Plan is required to “identify strategic

priorities and objectives in biomedical research” of areas such

as assessment of the “state of biomedical and behavioral

research” and opportunities therein, “priorities and objectives

to advance the treatment, cure and prevention of health

conditions,” “emerging scientific opportunities,”           “health

challenges” and “scientific knowledge gaps.”         42 U.S.C. §

282(m)(2)(A).   The Strategic Plan is also required to identify

“near-.mid-,and long term scientific needs.”         Id.

     The Strategic Plan is a statutorily imposed collaboration,

requiring the NIH to consult “with the directors of the national




     [(1)] provide direction to the biomedical research
     investments made by the National Institutes of Health,
     [(2)] to facilitate collaboration across the
     institutes and centers, [(3)] to leverage scientific
     opportunity, and [(4)] to advance biomedicine.

42 U.S.C. § 282(m) (emphasis added).


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research institutes and national centers, researchers, patient

advocacy groups, and industry leaders.”        42 U.S.C. § 282(m)(4)

     Congress historically has paid close attention to its tax-

dollar investments in medical, health and behavioral research.

In some cases, it has expressed its research priorities directly

in the PHSA, see e.g. Section 283(p).       For example, Congress has

by statute created ICs dedicated to certain systems, and

minority populations.

     The NIH is the primary source of federal funding for

biomedical research in the United States, and is the largest

public funder of biomedical research in the world.           Due to its

operations, NIH has contributed to profound medical

breakthroughs and through its funding trains future generations

of scientists.   It is tax-payer investment in the health and

welfare not just of Americans, but humanity.         Broadly, the NIH

performs research within federal facilities, also called

“intramural” research.     It also supports research through

funding of competitive grants to researchers and institutions

outside the federal system.    This is known as “extramural”

research, and is what is at issue in these consolidated actions.

     The NIH’s process to allocate funding from Congress for

extramural research is covered by several statutes and

regulations.   See 42 C.F.R. § 52 et seq.; .        The Court presumes

the parties’ familiarity with the process, but broadly, with

                                    [12]
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respect to extramural research, researchers must apply to the

NIH for funding.    The NIH, in line with its priorities, invites

proposals for grants through what is known as “Notice of Funding

Opportunity” (“NOFO”).     In simple terms, the applications go

through a three-step process: a scientific review group, and if

successful, then to the advisory council.        If the application is

approved by the advisory council, their recommendation proceeds

to the IC’s director who makes the ultimate funding decision.

     Grants are, understandably, oftentimes not a one-time

event.   Research takes time, often requiring continuation grants

or multiple grants.   The NIH’s framework of stability and

predictability has proven itself time and again over the past

several decades over multiple administrations.          It is one reason

the United States, through the support of the hard-working

government workers at HHS and the NIH, in partnership with the

scientific research community, has been unsurpassed in its

contributions to breakthroughs in science that have enhanced our

lives.   To be sure, there are priorities, as funding is not

unlimited, and administrations each have differing views on what

those priorities ought be, but the NIH’s priority changes have

been predictable.   What is clear is that Congress intends for

the NIH to operate with Congressional oversight and certainly

some statutory direction, but by and large leaves the science to

the scientists.    Indeed, the American people have enjoyed a

                                    [13]
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historical norm of a largely apolitical scientific research

agency supporting research in an elegant, merit-based approach

that benefits everyone.

     That historical norm changed on January 20, 2025.             The new

Administration began weaponizing what should not be weaponized –

- the health of all Americans through its abuse of HHS and the

NIH systems, creating chaos and promoting an unreasonable and

unreasoned agenda of blacklisting certain topics, that on this

Administrative Record, has absolutely nothing to do with the

promotion of science or research.

          B.   Timeline of Events

          1.   January 20, 2025 – January 21, 2025 -- Executive
               Orders 14151, 14168, and 14173 are issued.

     The Executive Branch decided early on, through Executive

Orders, to focus on eradicating anything that it labels as

Diversity, Equity and Inclusion (“DEI”), an undefined enemy.              No

one has ever defined it to this Court –- and this Court has

asked multiple times.      Indeed, as will be demonstrated, while

the Executive, HHS, and the NIH certainly identify the acronym

DEI and its component words, it’s definition is purely circular

reasoning: DEI is DEI.     It also is focused on gender identity as

a priority, proclaiming through Executive Orders its concerns.

The Executive Branch, of course, has every right to espouse its

views, and this Court opines on neither their veracity nor


                                     [14]
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wisdom.   Nevertheless, the Executive Orders lay the groundwork

for what occurred at HHS and the NIH.

            a.    Executive Order 14151

     On January 20, 2025, the President issued Executive Order

No. 14151, entitled "Ending Radical and Wasteful Government DEI

Programs and Preferencing."      Exec. Order 14151, 90 Fed. Reg.

8339 (Jan. 20, 2025) (“EO 14151”).         EO 14151 focuses on ending

what the Executive views as a perceived “infiltration” of the

federal government     of “illegal and immoral discrimination

programs of the Biden Administration going by the name

‘Diversity, Equity and Inclusion’”.        Id.    EO 14151 posits that

DEI is mutually exclusive to “serving every person with equal

dignity and respect.”      Id.   Under the guise of “making America

great,” EO 14151 instructs the Attorney General and others to

"coordinate the termination of all discriminatory programs,

including illegal DEI and 'diversity, equity, inclusion, and

accessibility' (DEIA) mandates, policies, programs, preferences,

and activities in the Federal Government, under whatever name

they appear."    Id.   EO 14151 does not define DEI.           Additionally,

and pertinent here, EO14151 directs each federal agency head to

"terminate, to the maximum extent allowed by law, all 'equity-

related' grants or contracts" within 60 days.            Id.    This too has

broad, undefined contours.       As one Court recently noted, “‘[t]he

vagueness of the term ‘equity-related’ grants or contracts

                                      [15]
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invites arbitrary and discriminatory enforcement and does not

provide sufficient notice to grantees as to what types of speech

or activity they must avoid to prevent termination of their

grants or contracts -- compelling grantees and grant applicants

to steer far too clear of the forbidden area of anything related

to the broad and undefined term of equity.’” San Francisco

A.I.D.S. Found. v. Trump, No. 25-CV-01824-JST, 2025 WL 1621636,

at *21 (N.D. Cal. June 9, 2025) (cleaned up).

           b.   Executive Order 14168

     On January 20, 2025, the President also issued Executive

Order 14168, "Defending Women from Gender Ideology Extremism and

Restoring Biological Truth to the Federal Government."            The

President claims that women need protection from transgender

persons:

     Efforts to eradicate the biological reality of sex
     fundamentally attack women by depriving them of their
     dignity, safety, and well-being. The erasure of sex
     in language and policy has a corrosive impact not just
     on women but on the validity of the entire American
     system. Basing Federal policy on truth is critical to
     scientific inquiry, public safety, morale, and trust
     in government itself.

Exec. Order 14168, 90 Fed. Reg. 8615 (Jan. 20, 2025) (“EO

14168”).   The EO goes on to proclaim that "gender ideology"

somehow "replaces the biological category of sex with an ever-

shifting concept of self-assessed gender identity," that it is a

“false claim,” and that "includes the idea that there is a vast


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spectrum of genders that are disconnected from one's sex."             Id.

§2(f).   Pertinent here, the Executive seeks to stamp “gender

ideology” out: “Federal funds shall not be used to promote

gender ideology.    Each agency shall assess grant conditions and

grantee preferences and ensure grant funds do not promote gender

ideology.”   Id. §3(f).

             c.    Executive Order 14173

     On January 21, 2025, President issued Executive Order No.

14173, entitled "Ending Illegal Discrimination and Restoring

Merit-Based Opportunity."    Exec. Order 14173, 90 Fed. Reg. 8633

(Jan. 21, 2025) (“EO 14173”).    Similar to EO 14151, EO 14173

purportedly seeks to end "immoral race- and sex-based

preferences under the guise of so-called [DEI] or [DEIA]," and

the order requires the Director of the OMB to "[e]xcise

references to DEI and DEIA principles, under whatever name they

may appear, from Federal acquisition, contracting, grants, and

financial assistance procedures" and to "[t]erminate all

'diversity,' 'equity,' 'equitable decision-making,' 'equitable

deployment of financial and technical assistance,' 'advancing

equity,' and like mandates, requirements, programs, or

activities, as appropriate." Id. There is, conspicuously, no

definition of DEI.




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          2.   January 21, 2021, The Pause Directive.

     On January 21, 2025, HHS Acting Secretary Dorothy Fink

(“Acting Secretary Fink”), appointed January 20, 2025, ordered

an immediate communication pause until February 1, 2025.            R. 1.

(“the Pause Directive”).




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R. 1-2.6   Although referenced for completeness, this Challenged

Directive relates to Phase 2 of this Action, so will not be

discussed further at this time.

           3.   February 10, 2025 -- The Secretarial Directive –-
                Challenged Directive 2

     On February 10, 2025, Acting Secretary Fink, issued the

following “Secretarial Directive on DEI-Related Funding” (“the

Secretarial Directive”):




     6 Stylistically, this Court usually avoids inserting full
documents in its opinions lest bulk substitute for analysis.
Here, however, no paraphrasing can replace the originals and
convey what was actually going on.
                                     [20]
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                                  [21]
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R. 4-5.   In what will be a common theme throughout the agency

action, Dr. Fink chose not to define DEI at all, but merely

echoed the EOs, lumping DEI -- whatever DEI is -- as somehow

“discriminatory” in nature.    Id.   Presumably, Dr. Fink, a highly

educated physician and acclaimed researcher,7 understood the

downstream effects of the absence of definition.             There is

conspicuously nothing else in the Administrative Record

concerning the Secretarial Directive.




     7 Dr. Fink is currently Deputy Assistant Secretary for
Women’s Health and Director of the Office of Women’s Health in
the Office of the Assistant Secretary for Health at HHS. Her
biography is located https://womenshealth.gov/about-us/who-we-
are/leadership/dr-dorothy-fink.
                                     [22]
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           4.   February 12, 2025 -- The Lauer Memoranda

      In the ensuing days, federal courts issued temporary

restraining orders against, among others, the NIH.           In response,

on February 12, 2025, Dr. Michael S. Lauer (“Dr. Lauer”), then-

Deputy Director for Extramural Research at the NIH and Michelle

G. Bulls, NIH Chief Grants Management Officer (“CGMO Bulls”),

issued to the ICs a memorandum stating that NIH "is in the

process of reevaluating the agency's priorities based on the

goals of the new administration." R. 9.        That memorandum states

that the "NIH will effectuate the administration's goals over

time, but given recent court orders, this cannot be a factor in

[Institutions and Centers’] funding decisions at this time."

Id.   The memorandum also promised "[a]dditional details on

future funding actions related to the agency's goals will be

provided under a separate memo."     Id.    The memorandum in full:




                                    [23]
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R.9.   The Court views this memorandum as hardly a ringing

endorsement of HHS’s Secretarial Directive of the Executive

Orders.

                                    [24]
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     Nevertheless, that new guidance came the next day.              On

February 13, 2025, Dr. Lauer and CGMO Bulls issued another

memorandum to ICs Chief Grant Management Officers, that

announced "hard funding restrictions" on "awards where the

program promotes or takes part in diversity, equity, and

includsion [sic] ('DEI') initiatives" with restrictions applying

"to new and continuation awards made on or after February 14,

2025."   R. 16.   The memorandum also states that, "[i]f the sole

purpose of the grant, cooperative agreement, other transaction

award (including modifications), or supplement supports DEI

activities, then the award must be fully restricted.           The

restrictions will remain in place until the agency conducts an

internal review for payment integrity.”        Id.   The February 13,

2025 Memorandum is set forth in full:




                                    [25]
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R. 16.   It is unclear how the NIH could use this document to

determine the contours of DEI, where it does not define the

term, nor how to determine whether something “promotes or takes
                                    [26]
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part in diversity equity and inclusion . . . initiatives.”             Id.8

Further, it apparently relies upon the Secretarial Directive.

Id.




      8 Consistent with the Administrative Record, NIH Chief
Grants Management Officer Michelle Bulls testified in another
federal action that she drafted the February 13, 2025 memorandum
with Dr. Lauer and acknowledged that the ICs would determine for
themselves what in fact DEI meant:

      Q· · Do you recognize this document?

      A· · Yes.

      Q· · And you wrote this document, right?

      A· · I wrote it with Dr. Lauer, yes.

      Q· · Okay.· And what is it?

      A   It's the supplemental -- it's the beginning of the
          guidance providing agency - - I mean
          ICs with guidance on how to unpause funding.

      Q· · And it does say that there is a Restriction.· What's
           the restriction that it gives guidance about?

      A· · On spending funding related to DEI activities on
           grants.

      Q   Was there a definition of DEI activities
          provided with this memo?

      MS. ANDRAPALLIYAL:· Objection.· To the extent the
           information sought is deliberative and not final, I'm
           instructing the witness not to answer.

      BY MR. McGINTY:
      Q· · How are ICs supposed to determine if something fell
           within DEI activities?

      A· · They have scientific, the scientific background and
           they know their programs, so the Grants Management
                                    [27]
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            5.   February 13, 2025 -– Deputy Director of
                 Extramural Research, Dr. Lauer Resigns and Liza
                 Bundensen is promoted as Acting Extramural
                 Research Director.

     Deputy Director Lauer resigned that same day, effective

February 14, 2025.   See Second top NIH official, who oversaw

awarding of research grants, departs abruptly, Stat+ https:/,

/www.statnews.com/2025/02/13/nih-michael-lauer-deputy-director-

departs/.    Liza Bundesen (“Dr. Bundesen”) became acting director

of Extramural Research of the NIH after Dr. Lauer resigned.

That promotion was short-lived, as she resigned less three weeks

later on March 5, 2025.    April 3, 2025 Depo. Liza Bundesen 5,

State of Washington et al. v. Trump et al. , Civ No. 25-cv-

00244, ECF No. 276-8.

            6.   February 21, 2025 -- The Memoli Directive –
                 Challenged Directive 5

     On February 21, 2025, Dr. Matthew Memoli (“Acting Director

Memoli”), Acting Director of NIH, appointed by Dr. Fink, from

January 22, 2025 through March 31, 2025, see

https://www.nih.gov/about-nih/nih-almanac/leadership/nih-




            officials work with the program officials to identify
            DEI activities where it's not clear in the statute.

Dep. Michelle Bulls 99-100, Decl. Chris Pappavaselio, Ex. 41,
ECF No. 77-41. When asked about what statute, she assumed that
Minority Health Disparity Institute had some language, but
ultimately testified she did not know if “it ties directly, but
I think that is being used. And that’s an assumption, that’s
not facts.” Id.
                                    [28]
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directors/matthew-j-memoli-md-ms, and currently Principal Deputy

Director of the NIH, sent an email to Nina Schor, Deputy

Director for Intramural Research, Alfred Johnson, Deputy

Director for Management, and Dr. Bundesen, Deputy Director of

Extramural Research:




R. 2929.   It is unclear what Dr. Memoli told the recipients of

his email about the supposed “plan of action,” but on that same

date Dr. Memoli issued a Directive entitled “Restoring

Scientific Integrity and Protecting Public Investment in NIH




                                    [29]
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Awards” (“the Memoli Directive”), which was sent out by Deputy

Dr. Bundesen:




R. 3823.   The memorandum was attached:




                                    [30]
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                                  [31]
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R. 3821 - 3822.   The Memoli Directive notably picks up gender

identity language for the first time.




                                    [32]
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     While Dr. Memoli claimed that this Directive is based upon

his “expertise and experience” and attempts to make it appear

the NIH was acting “independently” it is obvious that much, if

not all, of the content was provided to him by HHS.             Indeed, the

record reflects that HHS spoon-fed Dr. Memoli exactly what to

say in his Directive as later drafts of guidance confirm that

certain specific language was provided by HHS, even going so far

as to putting it in quotations:




R. 3280.    There is evidence in the record that on that same

date, Dr. Memoli was taking advice as to NOFOs that purportedly

did not align with the new objectives from Brian M. Smith, an

official in the so-called Department of Government Efficiency

(“DOGE”).    R. 3752-3753.




                                      [33]
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          7.   February 22, 2025 -- NOFOs Taken Down

     On Saturday, February 22, 2025, Brad Smith of DOGE sent a

list to Dr. Memoli of NOFOs that in their view did not fall

within the Memoli Directive:




                                    [34]
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     Dutifully, Dr. Memoli instructed Director Bundesen to

remove published NOFOs because of a lack of alignment:




                                    [35]
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R. 3810.   Dr. Memoli then, equally dutifully, reported back to

DOGE:




                                    [36]
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R. 3751.   DOGE acknowledged the response, providing what this

Court finds to be false deference by DOGE:




R. 3752.

           8.   February 28, 2025 – The Grant Terminations Begin

     On February 28, 2025, the first batch-terminations


                                    [37]
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occurred.    R. 1403.   Dr. Memoli forwarded a spreadsheet to Dr.

Bundesen, who forwarded it to CMGO Bulls.9


     9 Consistent with the Administrative Record, Dr. Bundesen
testified that as for decisions on terminations, that DOGE was
involved in selecting the grants to be terminated, apparently
out of the blue:

     Q      How did you first learn that grants were going to
         be terminated on February 28th?

     A      I received a text message over Microsoft Teams
         from James McElroy. He said, Liza - - something to
         the effect of: Liza, can you please get in touch with
         Rachel Riley ASAP, she's been trying to reach you.

         I'm paraphrasing.

     I said, James, I'm sorry, I do not know who Rachel
       Riley is. And then shortly thereafter, James called
       me over a Microsoft Teams video call, and so he was
       there and Rachel Riley was there. She - introduced
       herself as being part of DOGE, who was working with
       HHS.

     And she informed me that a number of grants will need
       to be terminated and that Matt Memoli will be sending
       me an e-mail, a list of grants in an e-mail shortly
       thereafter.

     Q Did she explain why the grants were being
       terminated?

     A No.

     Q Did you ask?

     A She explained that -- excuse me, let me
        clarify.

         She said that the current administration's OGC has a
         different opinion from the previous administration's
         OGC on grant termination and, therefore, we will need
         to terminate grants by the end of the day.

                                      [38]
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     That email and spreadsheet is part of the record:




      I did not ask what, you know, what grants because I
      just literally was a little bit confused and caught
      off guard. And so I waited to see what I would
      receive by e-mail.

     Q: And then what did you receive by e-mail?

     A: I received an e-mail from Matt Memoli that said
       something to the effect of: Liza, the attached list
       of grants need to be terminated by COB today. And
       there was an Excel file attached to the e-mail.

Bundesen Depo. 60 – 61.
                                    [39]
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R. 2295 – 2302.     Recall that Dr. Bundesen oversaw extramural

research.   There is no evidence of any discussion, rather, the

evidence in the Administrative Record that Dr. Bundesen followed

orders that apparently went from Riley to Dr. Memoli to Dr.

Bundesen and on down the chain.     Smith is copied on this email.

     CGMO Bulls’s testimony in another case confirms what the

Administrative Record reveals:

          Q· · This is one of those letters that you've been
     asked to send that you were just talking about?

            A· · Yes.

            Q· · And you signed this letter, right?

            A· · Yes.

            Q· · Okay.· And why did you send this letter?

            A· · I was asked to send it.

            Q· · Who asked you to send it?

            A     My supervisor.

            Q· · Okay.· And who is that?

            A· · At the time, Liza Bundesen.

                * * *

            Q· · Did she tell you why she was asking you to
                 send it?

            A· · Yes.

            Q· · Okay.· And what did she say?

            A· · That we were asked to terminate grants.

            Q· · Did she tell you why you were asked to

                                    [40]
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                  terminate grants?

          A· · She did not.

          Q· · Okay.

          A· · Can I correct the statement? The e-mail that I
          received from Liza Bundesen indicated that we needed
          to terminate the grants, and the language in the
          letters were provided so I didn't question, I just
          followed the directive.

          Q· · Okay.

          A· · She didn't say:· Terminate the grant because of.·
          She said:· The list below.· So I just wanted to be
          clear about that.

          * * *

          Q· · Okay.· And is that the same list that you
          were talking about earlier that came from Rachel
               Riley?

          A· · That was on the same e-mail, yes.


Depo. Bulls 66-68.    CGMO Bulls describes the letters,

accurately, as “template letters”      Id.     She also testified that

but for her signature on the letters, she did not create any of

the language, which was provided by Rachel Riley, and that she

is unaware whether the NIH undertook any assessment at all as to

whether a particular grant met the criteria being espoused in

the letters.   Id.   The testimony concerning the February 28,

2025 letters comports with the Administrative Record, though the

grant described is not one before this Court:

          Q· · So it says here -- actually, can you read


                                      [41]
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           the fourth paragraph, the one that starts with, "This
           award no longer effectuates."

           A· · "This award no longer effectuates agency
           priorities.· NIH is obligated to carefully steward
           grant awards to ensure taxpayer dollars are used in
           ways that benefit the American people and improve
           their quality of life.· Your project does not satisfy
           these criteria.· Research programs based on gender
           identity are often unscientific, have little
           identifiable return on investment, and do nothing to
           enhance the health of many Americans.· Many such
           studies ignore, rather than seriously examine,
           biological realities.· It is the policy of NIH not to
           prioritize these research programs."

           Q· · Okay.· And this was part of the template letter
           that Rachel Riley provided?

           A· · Yes.

           * * *

·          Q· · Was this edited in any way from the template
           letter that Rachel Riley provided?

           A· · No.

           Q· · Okay.· It says, "Your project does not satisfy
           these criteria."· Do you see that there?

           A· · Yeah.

           Q· · Are you aware of any assessment of Dr. Ahrens'
           grant in particular that was made to see if her grant
           satisfied the criteria?

           A· · No.

           Q· · Would you have been aware of such assessment if
           one had been made?

           A· · I don't know.

           Q· · Okay.· Would you have been aware of such an
           assessment if one had been made by NIH?
           A· · Yes.

                                      [42]
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       Q· · And it says, "Research programs based on
       gender identity are often unscientific with little
       identifiable return on investment, and do nothing to
       enhance the health of many Americans." Did NIH do any
       assessment of this particular grant to see if it was
       unscientific?

       A· I don't know.· The letter was provided and it was
       sent.· I don't know what happened before ·8· ·that.

       Q· · Well, did NIH do any assessment?

       A· · I don't know.

       Q· · You don't know if NIH did an assessment to
       see if Dr. Ahrens' grant was scientific or not?

       A· · Are you talking about -- I don't understand your
       question, sorry.

       Q· · Well, it says in this letter, and I
       understand you didn't write it, but you signed it,
       "Research programs based on gender identity are
       often unscientific."· And that was the reason this
       particular grant was terminated. ·Is that right?

       A· · That's what the letter says.

       Q· · That's what the letter says.· So I'm trying to
       figure out whether or not there was any basis to think
       that Dr. Ahrens' grant was unscientific.

       A· · I don't know.

       Q· · Okay.· And do you know if there was any

       assessment to see if it had an identifiable return

       on investment?

  A· · No, I don't know.

  Q· · Do you know if NIH did one?

  A· · I don't know.


                                  [43]
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  · Q· · Okay.· Would you have been aware if NIH
         did one?

      A· · I'm not sure.

      Q· · Okay.· And it also says, "and do nothing
           to enhance the health of many Americans." Do you know
           if NIH did any assessment to see if Dr. Ahrens' grant
           would enhance the health of many Americans?

      A· · I don't know.

      * * *

      Q ·      Did Rachel Riley provide any other template letters
              that were sent?

      A· · Yes.

      Q· · Okay.· What were those template letters about?

      A· · In that [February 28, 2025] list, I don't recall.

      Q· · How about any list for letters that had been sent?

      A· · DEI activities, this language.· I think one on China.·
           I don't know.· That's it that I can recall, and I'm
           sure I'm blanking right now.

      Q· · So what you remember is the gender identity language,
           the DEI language, and the China. Was there language
           on vaccine hesitancy that was used?

      A· · In that batch, no.

Bulls Depo. 72 – 74.     CMGO Bulls later testified, again,

consistent with the Administrative Record, that Rachel Riley

provided the following DEI language in template letters:

· ·   Q     And then it says, "DEI:· Research programs based
            primarily on artificial and non-scientific categories,
            including amorphous equity objectives, are
            antithetical to scientific inquiry, do nothing to
            expand our knowledge of living systems, provides low
            returns on investment, and ultimately do not enhance

                                     [44]
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           health, lengthen life, or reduce illness.· Worse, so
           called diversity, equity, and inclusion (DEI) studies
           are often used to support unlawful discrimination on
           the basis of race and other protected characteristics,
           which harms the health of Americans. Therefore, it is
           the policy of NIH not to prioritize such research
           programs." ·That language also was provided by Rachel
           Riley?

      A    Yes.

Id.   90 - 91.    Consistent with the Administrative Record, CMGO

Bulls testified that she was provided lists with the categorical

reasons for termination, and she executed based on those lists.

She had no input into which grants were terminated or for what

reasons:

      Q· · Okay.· But it's your testimony that the reason that
           the grant is going to be terminated is provided to
           you.· Is that right?

      A· · That's right.

      Q· · And you don't have any input into that?

      A· · I don't.

      Q· · Okay.· And you're testifying that the template letter
           for each reason is provided to you. Is that right?

      A· · Yes.

      Q· · And you don't have any input into that either?
·
      A· · I don't.

Id. 97 - 98.     From January 20, 2025 through April 2025, CMGO

Bulls had received “more than five lists” of grants to

terminate, and she estimated that at that time between 500 and

1,000 grants had been terminated.       Id.    98 – 99.       While there

                                      [45]
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had been a “handful” of noncompliance terminations of which the

NIH had undertaken between 2012 through January 20, 2025, Bulls

Depo. 46 (“My testimony is that it doesn’t happen often, more

than one and probably less than five.”), the current type of

terminations that were dictated from HHS had occurred only once

before during the prior Trump Administration.           Id. 47 -48.     The

Administrative Record is replete with a large number of these

new, dictated terminations.

     The templates for these letters are all variations on a

theme, and has been dictated onto the NIH by Riley as a reason-

for-termination menu.      A good example is provided in full, but

the record is replete with examples of the templates being used:




                                     [46]
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                                  [47]
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                                  [48]
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R. 2482 - 2483.

          9.      March 2025 -- The NIH Priorities Directives
                  Emerge

     Between March 4, 2025, and March 25, 2025 internal staff

guidance was issued.    See March 4, 2025 email from CMGO Bulls to

Chief GMOs, R. 345.




     The guidance is provided in full:




                                    [49]
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                                  [50]
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R. 2152 -2153.     Again, no definition is provided for DEI.

Multiple appendices are provided, simply stating that it is “in

accordance with the Secretarial Directive,” which is included as

an appendix.     R. 2154 – 2155.   It also includes the boilerplate

language regarding DEI, “transgender issues,” and China:




                                     [51]
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R. 2157.   Notably, Appendix 4 delves into renegotiated awards

concerning DEI activities.    Anticipating questions about an

                                    [52]
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undefined DEI, the NIH invites recipients to inquire before

drawing down funds.   Id.    Throughout March 2025, the Priorities

directive was modified for certain procedures, but the

boilerplate language of the reasons for termination did not

substantially vary.

          10.   Friday, March 7, 2025 -- Deputy Director Bundesen
                Resigns and Acting Director Memoli Appoints
                Himself Acting Deputy Director of Extramural
                Research

     On Friday, March 7, 2025, a mere three weeks after

appointment as Acting Deputy Director of Extramural Research,

Director Bundesen resigned from the NIH.

          11.   March 10, 2025

     Dr. Memoli was in the thick of it, and he sent an email to

his Deputies and general counsel, expressing that week was going

to be busy:




                                     [53]
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                                  [54]
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R. 2352.   He wasn’t wrong.

            a.     The Columbia University Bulk Terminations --
                   Another Example of the Weaponization of the NIH

     Separate to the categorized grant terminations, there is a

curious exchange in the Administrative Record concerning the NIH

weighing in on the Columbia University campus unrest.            As best

the Court can discern, the NIH was being required to come down

hard on Columbia University and cancel their grants on the basis

of campus unrest.    There is no evidence in the record that this

had ever been done before.    Deputy Director Lorsch, perhaps

understanding the implications of cancelling all grants to a

research university, appeared to be trying to soften the blow

recommending to Dr. Memoli to fire a warning shot across

Columbia University’s bow -- that Columbia be put on notice that

NIH “intended” to terminate a list of grants.          Dr. Memoli

provided that same recommendation to David Lankford, the NIH’s

General Counsel:




                                    [55]
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R. 3462.   The email attached a list of Columbia’s grants and a

draft letter, dated March 7, 2025.10       The draft without the list

is set forth in full here:


     10This draft letter date coincides with a March 7, 2025
Department of Justice/HHS, Department of Education and General
Services Administration Press Release which stated “GSA will
assist HHS and ED in issuing stop-work orders on grants and
contracts that Columbia holds with those agencies. These stop-
                                    [56]
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work orders will immediately freeze the university’s access to
these funds. Additionally, GSA will be assisting all agencies in
issuing stop work orders and terminations for contracts held by
Columbia University.” Mar. 7, 2025 Press Release,
https://www.hhs.gov/press-room/task-force-cancels-columbia-
university-grants.html
                                    [57]
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R. 3503-3504.

     Drs. Lorsch’ s and Memoli’s softer approach was apparently

wholly rejected; the Administrative Record reflects a full

termination:


                                    [58]
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                                  [59]
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R. 3805 – 3806.   While the parties do not appear to assert

claims based directly upon this letter, it was included in the

Administrative Record, and in the Court’s view is further


                                    [60]
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evidence of the NIH’s grant process being abused as a bludgeon,

this time to sanction Columbia University for the

Administration’s perception of inaction by Columbia with respect

to campus unrest.     While the Court takes no position as to the

merits of the Executive’s perception or of the legality of its

action, it is clear that Drs. Memoli and Lorsch at least had

some pause as to a wholesale termination of Columbia’s grants,

numbering in the hundreds.     R. 3807 – 3809.       Indeed, how the

scientific and research activities had any connection with

unrest issues on Columbia’s campus is conspicuously never

explained.     The record evidence certainly reveals none.

             12.   March 10, 2025 Further Terminations

     The record is replete with termination activity.             On March

10, 2025, grants were terminated.      See e.g. R. 794 – 795; 1326 -

1333; 1357 -1363.     On March 11, 2025, Riley sent Dr. Memoli a

list of grants to terminate, that were approved by Dr. Memoli

within 2 minutes of the email having been sent:




                                     [61]
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R. 3820.   There is record evidence of template letters being

sent on that date.   R. 297 – 298; 653 -654        711- 712; 3508 -

3509; 3585 – 3586.




                                    [62]
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            13.   March 12, 2025 -- Further Terminations

       On March 12, 2025, Dr. Memoli sent an email to Deputy

Director Lorsch and Bulls with a list of grants to terminate.

R. 3631 - 3635.    Brad Smith of DOGE is copied on the email.           Id.




R. 2932-2933; 3631.    Terminations were issued on that date.           See

e.g.   R. 651 - 652 709 – 710.

       On March 13, 2025, Dr. Memoli sent an email to Deputy

Director Lorsch and Bulls, directing them to terminate an

additional 530 grants.     Brad Smith of DOGE is copied on the

email, which is provided in full:



                                    [63]
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R. 3122 – 3191.   There is record evidence of multiple

terminations of grants.    See e.g., R. 3593 – 3630; March 14,

2025 (R. 289 – 290); March 18, 2025 (R. 440- 441; 601 – 602);

March 19, 2025 (R. 391 – 392); March 20, 2025 (R. 158 – 159;

449- 450; 745 -746; 1348 -1349; 1371- 1375; 1392 – 1392; 1397-

1398); March 21, 2025 (R. 114 – 116; 152 – 153; 187 – 189; 757 -

759; 771- 773; 782 - 784; 810-814; 859 - 861; 871 – 873; 877 -

878; 995-996; 1195 -1197; 1237 -1242; 1268-1273; 1284 - 1292;

1380 – 1384; 1399 - 1401; 1416- 1421; 1483 – 1484; 1492 -1493;

1668 - 1670; 1689 -1694; 2415 – 2468); March 24, 2025 (R. 689-
                                    [64]
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691; 747 – 749; 844 – 846; 1218 - 1220; 1299 - 1301; 1309 -

1310; 2257 – 2258).

          14.   March 25, 2025 – Staff Guidance (Priorities
                Directive)

     On March 25, 2025, the NIH issued further guidance (“the

March 25 Guidance”).   R 3216 -3230.      This is a continuation of

the Priorities Directive, which was changing on the fly over

March, though it is not clear whether any grants were terminated

based upon this guidance.




                                    [65]
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                                  [66]
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                                  [67]
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                                  [68]
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                                  [69]
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                                  [70]
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                                  [71]
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     The March 25 Guidance settles on an examples list of:

"China," "DEI," "Transgender issues," “Vaccine Hesitancy",

"COVID-related" research:




                                    [72]
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R. 3226.

     The March 25 Guidance also features an FAQ section that

includes, among other instructions:




                                    [73]
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R. 3229.   In addition, "Notice of Funding Opportunity (NOFO)

Guidance," was listed as "[pending]."       R. 3228.

     On May 15, 2025, it appears that Dr. Memoli was provided an

expanded list from the Office of General Counsel




                                    [74]
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R. 3536.   Again, usage of this list was mandatory:




                                    [75]
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3541.

        The terminations continued.   See March 26, 2025 (R. 1639 -

1641); March 31, 2025 (R. 2488); April 1, 2025 (R. 760-761;

1274-1276; 1376 – 1378; 1394 -1396); April 2, 2025 (R. 35 – 36;

3762 – 3803); April 7, 2025 (R. 1652); April 8, 2025 (R.              1653 -

1667); May 9, 2025 (R. 3452).

IV.     RULINGS OF LAW

             A.   This Court Maintains Jurisdiction Save For
                  Category of China which has not Harmed these
                  Plaintiffs

        This Court retains jurisdiction.      The Public Officials

press that the Court has no jurisdiction because their high-

level activities are interlocutory and the grant terminations,

claiming there is no final agency action under the APA.              With

the exception of grant terminations on the basis of China, all

of these arguments are rejected.

             1.   The Plaintiffs Have No Standing as to the “China”
                  Category

        The parties do not dispute that action has not been taken

concerning the category of “China.”        Accordingly, the Court



                                      [76]
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VACATES its earlier order solely as to this category, that does

not apply.

             2.   Final Agency Action

     Final agency action “includes the whole or a part of an

agency rule, order, license, sanction, relief, or the equivalent

or denial thereof, or failure to act.”       5 U.S.C.A. § 551 (13),

and a “rule” thereunder “means the whole or a part of an agency

statement of general or particular applicability and future

effect designed to implement, interpret, or prescribe law or

policy or describing the organization, procedure, or practice

requirements of an agency.”    5 U.S.C. § 551(4).           “As a general

matter, two conditions must be satisfied for agency action to be

‘final’: First, the action must mark the ‘consummation’ of the

agency's decisionmaking process. . . -- it must not be of a

merely tentative or interlocutory nature.        And second, the

action must be one by which rights or obligations have been

determined, or from which legal consequences will flow.”

Bennett v. Spear, 520 U.S. 154 (1997).

     The Challenged Directives, as a whole, constitute final

agency actions at the macro-level, and the resultant, downstream

individual terminations and other effects are also independent

final agency action as to each of the affected grants.             The

Public Officials attempts to narrow the action to grant

terminations and characterization of the Priorities Directives

                                    [77]
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by CMGO Bulls “as not independently challengeable”

oversimplifies the record and is a myopic view of the

Administrative Record.

        Certainly, taking any particular document in isolation and

out of temporal context is superficially appealing.           But the

agency action here occurred in the context of a wholesale effort

to excise grants in 8 categories over a period of less than 90

days.    HHS directed NIH to cut without a plan and NIH, with the

assistance of DOGE, made it up as they went along, resulting in

a paper trail of the Challenged Directives.         The Public

Officials were trying to comply with an Executive Order 60-day

deadline.    See EO 14151 § 2 (B)(i) ("Each agency, department, or

commission head, in consultation with the Attorney General, the

Director of OMB, and the Director of OPM, as appropriate, shall

take the following actions within sixty days of this order: . .

. terminate, to the maximum extent allowed by law, all. .

.equity action plans," ‘equity’ actions, initiatives, or

programs, ‘equity-related’ grants or contracts”).           Their

expedition in implementation included all of the Challenged

Directives.    The Public Officials argue “that this case is

nothing like Biden v. Texas, where the agency directed personnel

to take all necessary actions to shut down an entire program.”

Trial Br. 11.    (citing Biden v. Texas, 597 U.S. 785, 808–09

(2022).    They are correct -– this is worse.

                                    [78]
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     The pronouncements of HHS and NIH in the Challenged

Directives are consistent: they are final agency action on their

evolving “eradication” of DEI, gender identity, and other topics

ostensibly under the Executive Orders as quickly as possible.

While the President is not typically subject to the APA,

Franklin v. Massachusetts, 505 U.S. 788, 801 (1992), the

agencies implementing his orders certainly are.              New York v.

Trump, 133 F.4th 51, 70 n.17 (1st Cir. 2025) (“[T]he District

Court did not review the President's actions for consistency

with the APA.    Rather, it reviewed—and ultimately enjoined—the

Agency Defendants’ actions under the Executive Orders.”).

Indeed, “[t]he APA contains no exception for agency actions . .

. that carry out an executive order.”        Orr v. Trump, No. 1:25-

CV-10313-JEK, 2025 WL 1145271, at *15 (D. Mass. Apr. 18, 2025)

(Kobick, J.).

          B.     The Administrative Procedure Act

     “[F]ederal courts do not exercise general oversight of the

Executive Branch; they resolve cases and controversies

consistent with the authority Congress has given them.”              Trump

v. Casa, Inc., No. 24A884, 2025 WL 1773631, at *15 (U.S. June

27, 2025).11    Congress has provided such authority, in part,



     11 Nor should it. As my colleague Chief Judge McConnell of
the District of Rhode Island recently wrote about our system of
government:


                                     [79]
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under the Administrative Procedure Act (“APA”), 5 U.S.C. § 701

et seq.   Specifically, the APA provides that any “person

suffering legal wrong because of agency action, or adversely

affected or aggrieved by agency action within the meaning of a

relevant statute, is entitled to judicial review thereof.”             5

U.S.C. § 702.   It acts “as a check upon administrators whose

zeal might otherwise have carried them to excesses not

contemplated in legislation creating their offices,”           Loper

Bright Enters. v. Raimondo, 603 U.S. 369, 391 (2024) (quoting

United States v. Morton Salt Co., 338 U.S. 632, 644 (1950)), and

“sets forth the procedures by which federal agencies are

accountable to the public and their actions subject to review by

the courts,” Department of Homeland Sec. v. Regents of the Univ.




          Our founders, after enduring an eight-year war
     against a monarch's cruel reign from an ocean away,
     understood too well the importance of a more balanced
     approach to governance. They constructed three co-
     equal branches of government, each tasked with their
     own unique duties, but with responsibilities over the
     other branches as a check in order to ensure that no
     branch overstepped their powers, upsetting the balance
     of the fledgling constitutional republic. See
     Kilbourn v. Thompson, 103 U.S. 168, 191 (1880). These
     concepts of “checks and balances” and “separation of
     powers” have been the lifeblood of our government,
     hallmarks of fairness, cooperation, and representation
     that made the orderly operation of a society made up
     of a culturally, racially, and socioeconomically
     diverse people possible.

New York v. Trump, 769 F. Supp. 3d 119, 127–28 (D.R.I. 2025).

                                    [80]
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of Cal., 591 U.S. 1, 16 (2020) (quoting Franklin v.

Massachusetts, 505 U.S. 788, 796 (1992)).12        Broadly, the APA

establishes a rebuttable “presumption of judicial review [for]

one ‘suffering legal wrong because of agency action.’”            Id.

(alteration in original) (quoting Abbott Lab’ys v. Gardner, 387

U.S. 136, 140 (1967)).     The rebuttal of this presumption is made




     12   Section 706 provides in pertinent part:

          To the extent necessary to decision and when
     presented, the reviewing court shall decide all
     relevant questions of law, interpret constitutional
     and statutory provisions, and determine the meaning or
     applicability of the terms of an agency action. The
     reviewing court shall—

     (1)    compel agency action unlawfully withheld or
            unreasonably delayed; and

     (2)    hold unlawful and set aside agency action, findings,
            and conclusions found to be—

            (A)   arbitrary, capricious, an abuse of discretion, or
                  otherwise not in accordance with law;

            (B)   contrary to constitutional right, power,
                  privilege, or immunity;

            (C)   in excess of statutory jurisdiction, authority,
                  or limitations, or short of statutory right;

            . . . .

          In making the foregoing determinations, the court
     shall review the whole record or those parts of it
     cited by a party, and due account shall be taken of
     the rule of prejudicial error.

5 U.S.C. § 706.

                                    [81]
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“by a showing that the relevant statute ‘preclude[s]’ review, §

701(a)(1), or that the ‘agency action is committed to agency

discretion by law,’ § 701(a)(2).”13       Id. at 17.    The first

exception is self-explanatory, and the Supreme Court has read

the second exception “quite narrowly,” applying “it to those

rare ‘administrative decision[s] traditionally left to agency

discretion.’”    Id. (alteration in original) (first quoting

Weyerhaeuser Co. v. United Staes Fish & Wildlife Serv., 586 U.S.

9, 23 (2018); and then quoting Lincoln v. Vigil, 508 U.S. 182,

191 (1993));    Department of Com. v. New York, 588 U.S. 752, 772

(2019) (“[W]e have read the § 701(a)(2) exception for action

committed to agency discretion ‘quite narrowly, restricting it

to “those rare circumstances where the relevant statute is drawn

so that a court would have no meaningful standard against which

to judge the agency's exercise of discretion.”’” (quoting

Weyerhaeuser Co., 586 U.S. at 23)).       Examples of decisions

traditionally left to agency discretion include “a decision not

to institute enforcement proceedings, or a decision by an




     13   Section 701 provides in pertinent part:

     (a) This chapter applies, according to the provisions
     thereof, except to the extent that--
          (1) statutes preclude judicial review; or
          (2) agency action is committed to agency discretion by
          law.

5 U.S.C. § 701(a).
                                    [82]
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intelligence agency to terminate an employee in the interest of

national security.”   New York, 588 U.S. at 772 (citations

omitted).

            C.   The 706(2)(A) Claims –- Arbitrary and Capricious
                 (‘10787 Action Count I, ‘10814 Action Count III)

     Section 706(2)(A) of the APA “instructs reviewing courts to

set aside agency action that is ‘arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law.’”             Id.

at 771 (quoting 5 U.S.C. § 706(2)(A)).       “An agency action

qualifies as ‘arbitrary’ or ‘capricious’ if it is not

‘reasonable and reasonably explained.’”        Ohio v. Environmental

Prot. Agency, 603 U.S. 279, 292 (2024) (quoting Federal Commc’ns

Comm’n v. Prometheus Radio Project, 592 U.S. 414, 423 (2021)).

     Review by the Court under the arbitrary or capricious

standard of Section 706(2)(A) is narrow, because all that is

“required [is for] agencies to engage in ‘reasoned

decisionmaking.’”   Regents of the Univ. of Cal., 591 U.S. at 16

(quoting Michigan v. Environmental Prot. Agency, 576 U.S. 743,

750 (2015)) (emphasis added).    To be sure, this Court may not

“substitute its judgment for that of the agency,” but rather

“must ensure, among other things, that the agency has offered ‘a

satisfactory explanation for its action[,] including a rational

connection between the facts found and the choice made.’”             Ohio,

603 U.S. at 292 (alteration in original) (first quoting Federal


                                    [83]
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Commc’ns Com. v. Fox Television Stations, Inc., 556 U.S. 502,

513 (2009); and then quoting Motor Vehicle Mfrs. Ass’n of United

States, Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

(1983)).   Said another way, this Court’s review “simply ensures

that the agency has acted within a zone of reasonableness and,

in particular, has reasonably considered the relevant issues and

reasonably explained the decision.”       Prometheus Radio Project,

592 U.S. at 423.

     “Generally, an agency decision is arbitrary and capricious

if ‘the agency has relied on factors which Congress has not

intended it to consider, entirely failed to consider an

important aspect of the problem, offered an explanation for its

decision that runs counter to the evidence before the agency, or

is so implausible that it could not be ascribed to a difference

in view or the product of agency expertise.’ ” Sierra Club v.

United States Dep't of the Interior, 899 F.3d 260, 293 (4th Cir.

2018) (quoting Motor Vehicle Mfrs. Assn. of United States, Inc.

v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43, 103 S.Ct.

2856, 77 L.Ed.2d 443 (1983)).    “Determining whether an agency

action is ‘reasonable and reasonably explained’ is ‘measured by

what [the agency] did, not by what it might have done.’”            Green

& Healthy Home Initiatives, Inc. v. Env't Prot. Agency, No. 25-

CV-1096-ABA, 2025 WL 1697463, at *20 (D. Md. June 17, 2025) SEC

v. Chenery Corp., 318 U.S. 80, 93-94 (1943).         “And to this end,

                                    [84]
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conclusory statements will not do; an ‘agency's statement must

be one of reasoning.’” Amerijet Int'l, Inc. v. Pistole, 753 F.3d

1343, 1350 (D.C. Cir. 2014)(quoting Butte Cnty., Cal. v. Hogen,

613 F.3d 190, 194 (D.C.Cir.2010).

     This Court, is “ordinarily limited to evaluating the

agency's contemporaneous explanation in light of the existing

administrative record.”     New York, 588 U.S. at 780.         In the

usual course, this is because “further judicial inquiry into

‘executive motivation’ represents ‘a substantial intrusion’ into

the workings of another branch of Government and should normally

be avoided.”   Id. at 781 (quoting Arlington Heights v.

Metropolitan Hous. Dev. Corp., 429 U.S. 252, 268 n.18 (1977)).

Indeed, this Court may neither “reject an agency’s stated

reasons for acting simply because the agency might also have had

other unstated reasons” nor “set aside an agency’s policymaking

decision solely because it might have been influenced by

political considerations or prompted by an Administration’s

priorities.”   Id.   This general rule recognizes the reality that

“[a]gency policymaking is not a ‘rarified technocratic process,

unaffected by political considerations or the presence of

Presidential power.’”      Id. (quoting Sierra Club v. Costle, 657

F.2d 298, 408 (D.C. Cir. 1981)).      Agency “decisions are

routinely informed by unstated considerations of politics, the

legislative process, public relations, interest group relations,

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foreign relations, and national security concerns (among

others).”   Id.

     All that being said, while the Court’s “review is

deferential,” it is certainly “‘not required to exhibit a

naiveté from which ordinary citizens are free.’”            Dep't of Com.

v. New York, 588 U.S. 752, 785 (2019) (quoting United States v.

Stanchich, 550 F.2d 1294, 1300 (2nd Cir 1977) (Friendly, J.)).

     The Public Officials argue as one of their reasons            “[t]he

change in democratically accountable leadership with different

priorities is not a post hoc rationalization; it is historical

fact” and that “[w]ith a new administration comes an appropriate

opportunity to assess and reassess the agency’s activities.”

10787 Action, Defs. Resp. Trial Br. 4, ECF         No. 111.    True

enough, but what the Public Officials fail to appreciate is that

they have to work within the confines of the law.           That is, a

new administration certainly is entitled to make changes -– even

unpopular or unwise changes.    What it cannot do is undertake

actions that are not reasonable and not reasonably explained.

This is where the Public Officials miss the mark.           Even under

this narrow scope of review, the Public Officials’ actions as

evidence under the Challenged Directives are breathtakingly

arbitrary and capricious.

     A careful review of the Administrative Record confirms to

this Court what Justice Jackson wondered aloud three months ago

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(albeit from a different agency allegedly doing similar things):

that there is no reasoned decision-making at all with respect to

the NIH’s “abruptness” in the “robotic rollout” of this grant-

termination action.   Department of Education v. California, 145

S.Ct. 966, 975-76 (Jackson, J. dissenting); see also Thakur v.

Trump, No. 25-CV-04737-RFL, 2025 WL 1734471, at *14 (N.D. Cal.

June 23, 2025) (“The pace of the review and the resulting large

waves of terminations via form letters further suggests a

likelihood that no APA-compliant individualized review occurred.

These are precisely the kinds of concerns that the APA's bar on

arbitrary-and-capricious agency decisionmaking was meant to

address.”).

       The Court “cannot ignore the disconnect between the

decision made and the explanation given.”        New York, 588 U.S. at

785.   Based upon a fair preponderance of the evidence and on the

sparse administrative record, the Court finds and rules that HHS

and, in turn NIH, are being force-fed unworkable “policy”

supported with sparse pseudo-reasoning, and wholly unsupported

statements.

       Starting with DEI, the record is completely devoid of a

definition.   This Court has been transparent on this issue, see

American Pub. Health Assn. v. Natl. Institutes of Health, No. CV

25-10787-WGY, 2025 WL 1548611, at *12 (D. Mass. May 30, 2025),



                                    [87]
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yet at trial the Public Officials can point only to the

identification of DEI, but not the definition of DEI:




R. 3226; Tr. 58-59, ECF No. 156 (citing R. 3226).            It is not an

autological concept.   The Court questioned the Public Officials’

counsel in closing arguments: “So that’s as close to a

definition [of DEI] as we’ve got?”, to which the Public

Officials’ counsel responded: “That is the agency’s reasoning.”

Id.   The Public Officials’ counsel’s response while

unsatisfactory in the sense that one would assume that DEI would

be defined somewhere, was accurate and responsive.14           The Public

Officials simply have no definition of DEI.

      How, then, can the Public Officials act on “DEI” if there

is no operative definition of “DEI”?       The answer is plain: they

cannot, at least within the confines of the APA.            See Firearms

Regul. Accountability Coal., Inc. v. Garland, 112 F.4th 507, 523



       The Court observes the Public Officials’ counsel have
      14

been consistent and responsive to this Court on this issue.
Id.; see also, May 22, 2025 Hrg Tr. 19-20, ECF No. 82;
                                    [88]
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(8th Cir. 2024) (rejecting as arbitrary and capricious an agency

standard that relies on circular reasoning because it “allow[ed]

the ATF to reach any decision is wish[ed] only looking to

specific evidence of community misuse [of a weapon] while

ignoring any other examples of the community’s compliant use”).

Reliance on an undefined term of DEI (or any other category) “is

arbitrary and capricious because it allows the [Public

Officials] to arrive at whatever conclusion it wishes without

adequately explaining the standard on which its decision is

based.”   Id. at 525 (cleaned up).    Unfortunately, the Public

Officials did just that.

     The Court need not delve deeply into the rudderless EOs

concerning DEI: they do not even attempt to define DEI, but

instead set it up as some sort of boogeyman.          This lack of

clarity was (and is), in the first instance, wholly unfair to

the career-HHS and NIH personnel, which must attempt to “align”

themselves with the Executive through direction by partisan

appointed public officials.    Without a definition of DEI, they

embarked on a fool’s errand resulting in arbitrary and

capricious action.

     Then-Acting Secretary of Health and Human Services Dr.

Dorothy Fink, picked up the mantle first in the Secretarial

Directive, equating without any stated-basis still-undefined DEI

with “initiatives that discriminate on the basis of race, color,

                                     [89]
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religion, sex, national origin, or another protected

characteristic.”   R. 5 (emphasis added).       Further, she claims

that “[c]ontracts and grants that support DEI and similar

discriminatory programs can violate Federal civil rights law and

are inconsistent with the Department's policy of improving the

health and well-being of all Americans.”        Id. (emphasis added)

     What wordsmithing!    Of course discriminatory programs, or

initiatives that discriminate, can violate federal laws, but

there is absolutely nothing in the record that demonstrates this

is a reasonable statement in the context of DEI -- again

undefined -- nor are her statements reasonably explained at all.

The statement, respectfully, is utterly meaningless.

     On February 13, 2025, the then-NIH Deputy Director of

Extramural Research, Dr. Lauer, who provided supposed guidance

with respect to still-undefined DEI, using the language of HHS,

lumped in “DEI” with “initiatives that discriminate on the basis

of race, color, religion, sex, national origin, or another

protected characteristic” and advised that if the “sole purpose”

of the grants etc. “supports DEI activities” – again undefined –

- “then the award must be fully restricted.” R. 16.           Again, this

memorandum and the lack of a definition of DEI or what

supporting DEI activities reveals a reluctance to engage.

Indeed, though not determinative, Dr. Lauer resigned from a long

career in government service the same day he penned the February

                                    [90]
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13, 2025 memorandum, effective Valentine’s Day.             Notably, his

successor, Ms. Bundesen lasted only 3 weeks after which she too

resigned from government service as well.        While the Court makes

no finding as to Dr. Lauer’s or Ms. Bundesen’s motivations or

reasons for resigning, it is not lost on the Court that

oftentimes people vote with their feet.15

       Next, on February 21, 202k, Dr. Fink’s appointee, Acting

Director Matthew Memoli took the reins.        This time, there is

evidence that HHS provided him with some circular and

nonsensical boilerplate language that was used almost verbatim

later on in the grant termination letters.         That aside, Dr.

Memoli tripled down on the DEI mystery, and added -- in a truly

hold-my-beer-and-watch-this moment -- “gender identity” to the

mix.    The similar nonsensical phrasing appears.

       Like his boss at HHS, and whoever drafted the Executive

Orders for that matter, Dr. Memoli can certainly identify

“diversity, equity and inclusion (DEI),” but is unable (or

unwilling) to define it.    Instead, he follows Dr. Fink’s lead,

relegating it to a category “low-value and off-mission research




       The lack of any demonstrable pushback on these
       15

nonsensical Challenged Directives in the Administrative Record
belies the tremendous bureaucratic pressure at play here. It is
palpable. While HHS and the NIH bureaucrats are scientists at
heart, they are trying to keep their jobs. Scientists cling to
reason, not whim –- merit, not loyalty.
                                    [91]
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programs”, including not only DEI, but also undefined gender

identity.

       Dr. Memoli then goes back in time, attempting to state that

even though his “description of NIH's mission is consistent with

recent Executive Orders issued by the President,” his directive

is “based on my expertise and experience; consistent with NIH's

own obligation to pursue effective, fiscally prudent research;

and pursuant to NIH authorities that exist independently of, and

precede, those Executive Orders.”      See Memoli Directive.         While

intriguing, the regurgitation of the HHS language belies this

separation.   Indeed, his description obscures any definition of

DEI.   The first sentence is untethered to DEI, and is true in

the abstract:

       “Research programs based primarily on artificial and non-

scientific categories, including amorphous equity objectives,

are antithetical to the scientific inquiry, do nothing to expand

our knowledge of living systems, provide low returns on

investment, and ultimately do not enhance health, lengthen life,

or reduce illness.”   Id.    Simply put, non-scientific research is

non-scientific research, and should not be an NIH priority.

       Then Dr. Memoli goes on, “Worse, DEI studies are often used

to support unlawful discrimination on the basis of race and

other protected characteristics, which harms the health of

Americans.”   Id.

                                     [92]
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     What does this mean?    Apparently, by using the transition

“worse,” the term “DEI studies” –- again DEI is undefined -– are

somehow inherently “artificial and non-scientific.”           Without

citing a single example, Dr. Memoli claims that DEI studies are

“often used in support of unlawful discrimination on the basis

of race and other protected characteristics,” which he connects

with harm to the health of Americans.       So, is it the DEI studies

that are the problem or how others use them?         Who knows.     There

is not a shred of evidence supporting any of these statements in

the record.

     Dr. Memoli then transitions to “gender identity”, the next

boogeyman: “Likewise, research programs based on gender identity

are often unscientific, have little identifiable return on

investment, and do nothing to enhance the health of many

Americans.    Many such studies ignore, rather than seriously

examine, biological realities.”     R. 3821 (emphasis added).

There is not a shred of evidence in the Administrative Record

backing this up either.    Phrases like “often unscientific” and

“many studies ignore” are unsupported with anything other than

(apparently) Dr. Memoli’s experience.       Ironically, these kinds

of phrases would never survive peer review.

     HHS’s and the NIH’s implementation of the EOs is based

literally upon nothing but an undefined term.          Without defining

it, DEI becomes whatever DEI means to the Public Officials

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untethered to anything.     This is not reasoned decision-making,

in fact it is just the opposite.      It is neither reasonable, nor

reasonably explained.      Indeed, “the fact that an agency's

actions were undertaken to fulfill a presidential directive does

not exempt them from arbitrary-and-capricious review.”             Kingdom

v. Trump, No. 1:25-CV-691-RCL, 2025 WL 1568238, at *10 (D.D.C.

June 3, 2025).   The HHS and, in turn the NIH’s, best possible

(but losing) argument is on this record that they were simply

following orders of the Administration (or DOGE), but this is an

argument that simply falls flat.      Id. (“[I]f an agency could

avoid the need to justify its decisions simply by gesturing to

an Executive Order and claiming that it was just following the

President's directions, the President could unilaterally

eviscerate the judicial oversight that Congress contemplated in

passing the APA simply by issuing a carbon-copy executive order

mandating that an agency act in a particular way before it does

so.”).    That is essentially what has been done here.          This is

evidenced by the lack of any reasoned decisionmaking at all in

the Administrative Record.     The Public Officials have decided

that they are going to “eradicate” something that they cannot

define.   That agency action is arbitrary and capricious.

Pivoting to gender affirming care, vaccine hesitancy, COVID,

Climate Change and Influencing Public Opinion, these terms

evolve in the Priorities Directive, evidence that the NIH was

                                     [94]
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trying to figure it out, all the while being tasked with using

those same terms to wipe out grants.       None of these terms have a

reasonable explanation in the record.       The Public Officials

“must show that there are good reasons for the new policy. . . .

that the new policy is permissible under the statute, that there

are good reasons for it, and that the agency believes it to be

better.” F.C.C. v. Fox Television Studios, 556 U.S. 502, 515

(2009).   In plain terms, “this means that the agency need not

always provide a more detailed justification than what would

suffice for a new policy created on a blank slate.” Id.            It must

do more when, as here, “for example, its new policy rests upon

factual findings that contradict those which underlay its prior

policy; or when its prior policy has engendered serious reliance

interests that must be taken into account.”         Id.     The HHS and

NIH have not done so here, and with the exception of a scintilla

of evidence with respect to potential disruptions of withdrawn

NOFOs, there is no evidence that they even considered the

reliance interests that naturally inure to NIH grant process.

It is “arbitrary or capricious to ignore such matters.” Id.             The

Public Officials “fail[ ] to provide an intelligible

explanation,” which “amount[ ] to a failure to engage in

reasoned decisionmaking ...” Constellation Mystic Power, LLC v.

FERC, 45 F.4th 1028, 1057 (D.C. Cir. 2022) (quoting FPL Energy

Marcus Hook, L.P. v. FERC, 430 F.3d 441, 448 (D.C. Cir. 2005);

                                    [95]
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see Thakur, 2025 WL 1734471, at *15 (“The terminated grants were

being used to pay Plaintiffs’ and their staff's salaries, and to

fund graduate student programs, field research, and community

outreach.   These facts indicate significant reliance interests

that cannot simply be ignored.”).

     As the Court has already ruled, the Court -- relying on the

Certified Administrative Record -- rules that on a fair

preponderance of the evidence that the Challenged Directives are

arbitrary and capricious under Section 706(2)(A), as are the

concomitant grant terminations, which action are all set aside

and vacated.

            D.   Section 706(2)(A) Claims -- Not in Accordance
                 with Law (‘10787 Action Count II; ‘10814 Action
                 Count II)

     The APA claim that agency action is “not in accordance with

law” is a subpart of Section 706(2)(A).        In reviewing this claim

“a reviewing court must uphold an agency's decision if it is:

(1) devoid of legal errors; and (2) “supported by any rational

review of the record.”     New York v. Trump, No. 25-CV-39-JJM-PAS,

2025 WL 715621, at *9 (D.R.I. Mar. 6, 2025) (quoting Mahoney v.

Del Toro, 99 F.4th 25, 34 (1st Cir. 2024)).

     The Plaintiffs attack the Public officials claim that 2

C.F.R. § 200.340(a)(4) operates as a trump card and permits

termination of and award that “no longer effectuates the

programs goals or agencies priorities.”        Id.

                                    [96]
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     Section 340 is part of OMB’s guidance, and that is all that

is –- nonbinding guidance.    See 2 C.F.R. §1.105(b) (“Publication

of the OMB guidance in the CFR does not change its nature—it is

guidance, not regulation.”).    That provision falls under the

section entitled “Remedies for Noncompliance.”          Section 200.339

provides “remedies for noncompliance.”       2 C.F.R. §

     That provision provides in pertinent part:

          (a)   The Federal award may be terminated in part
                or its entirety as follows:

          (1)   By the Federal agency or pass-through entity
                if the recipient or subrecipient fails to
                comply with the terms and conditions of the
                Federal award;

          (2)   By the Federal agency or pass-through entity
                with the consent of the recipient or
                subrecipient, in which case the two parties
                must agree upon the termination conditions.
                These conditions include the effective date
                and, in the case of partial termination, the
                portion to be terminated;

          (3)   By the recipient or subrecipient upon
                sending the Federal agency or pass-through
                entity a written notification of the reasons
                for such termination, the effective date,
                and, in the case of partial termination, the
                portion to be terminated. However, if the
                Federal agency or pass-through entity
                determines that the remaining portion of the
                Federal award will not accomplish the
                purposes for which the Federal award was
                made, the Federal agency or pass-through
                entity may terminate the Federal award in
                its entirety; or

          (4)   By the Federal agency or pass-through entity
                pursuant to the terms and conditions of the
                Federal award, including, to the extent

                                    [97]
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               authorized by law, if an award no longer
               effectuates the program goals or agency
               priorities.

2 C.F.R. § 200.340(a).     That provision requires that an agency

“must clearly and unambiguously specify all termination

provisions in the terms and conditions of the Federal award.”

Id. at § 200.340(b).   An agency terminating an award “must

provide written notice of termination to the recipient or

subrecipient . . . [which] should include the reasons for

termination, the effective date, and the portion of the Federal

award to be terminated, if applicable.       2 C.F.R. § 200.341

Section 200.340 is an OMB Regulation that provides only guidance

to all agencies, and is not binding.       See 2 C.F.R. §1.105(b)

(“Publication of the OMB guidance in the CFR does not change its

nature -- it is guidance, not regulation.”)

     As an initial matter, HHS’s adoption of the regulation is

not effective until October 2025; accordingly, the regulation is

wholly inapplicable here.    See Health and Human Services

Adoption of the Uniform Administrative Requirements, Cost

Principles, and Audit Requirements for Federal Awards, 89 FR

80055-01 (“HHS will adopt all of the rest of 2 CFR part 200 with

an effective date of October 1, 2025.”).        Instead, a different

statue, 45 C.F.R. § 75.372(a) (2024) allows for unilateral

termination only where there is a failure “to comply with the

terms and conditions of the award” or “for cause.” 45 C.F.R. §

                                    [98]
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75.372(a)(1) (2024).   Plaintiffs argue that “the plain language

of the regulation mandates that these are the exclusive

conditions under which HHS and its sub-agencies may terminate a

grant.”   ECF 103 28 (citing Pol’y & Rsch., LLC v. United States

Dep't of Health & Human Servs., 313 F. Supp. 3d 62, 76 (D.D.C.

2018); Healthy Teen Network v. Azar, 322 F. Supp. 3d 647, 651

(D. Md. 2018).   That in and of itself demonstrates legal error.

Simply put, the Public Officials cannot rely on a regulation

that does not yet apply to their respective agencies in their

template.

     But even if it applied, under the cited regulation, an

agency can terminate an award “pursuant to the terms and

conditions of the Federal award, including, to the extent

authorized by law, if an award no longer effectuates the program

goals or agency priorities.” 2 C.F.R. § 200.340 (emphasis

added).   This is a distinction with a difference, because ““this

regulation cannot authorize actions that contravene statutory

requirements, nor does it relieve [the Public Officials] of

[their] duty to follow the law.” Pacito v. Trump, No. 2:25-CV-

255-JNW, ––– F.Supp. 3d ––––, ––––, 2025 WL 893530, at *9 (W.D.

Wash. Mar. 24, 2025) (quoting 2 C.F.R. § 200.340(a)(4)).

     The Public Officials counter that the regulation has been

incorporated into the terms and conditions of the grantees’

awards.   Even if the regulation applied as a contractual term,

                                    [99]
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whether the “award no longer effectuates the programs goals or

agency priorities” can still be challenged under the APA where

the underlying reasons violate the APA.       See Thakur v. Trump,

No. 25-CV-04737-RFL, 2025 WL 1734471, at *14 (N.D. Cal. June 23,

2025) (“2 C.F.R. § 200.340, to the extent it applies, does not

alter the requirement under the APA that Defendants must provide

a reasoned decision for their termination.”); American Ass'n of

Colls. for Tchr. Educ. v. McMahon, 770 F. Supp. 3d 822, 851 (D.

Md. 2025 (ruling that even if termination letters invoked a

valid reason to terminate under 2 C.F.R. § 200.340, APA claims

survived because the letters “fail[ed] to provide [the

plaintiffs] any workable, sensible, or meaningful reason or

basis for the termination of their awards”).         Reliance on these

inapplicable regulation as basis for template letter

terminations in conjunction with meaningless descriptions is

contrary to law under Section 706(2)(A) of the APA.

          E.    Section 706(2)(C) Claims -- In excess of
                Statutory Authority (‘10787 Action Count III;
                ‘10814 Action Count I)

     An APA action brought under Section 706(2)(C), challenges

agency action “in excess of statutory jurisdiction, authority,

or limitations, or short of statutory right.”         Id.     The

“[C]ourt[] must exercise [its] independent judgment in deciding

whether an agency has acted within its statutory authority.”

Loper Bright, 603 U.S. at 412.     “[T]he [C]ourt fulfills [its]

                                    [100]
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role by recognizing constitutional delegations, ‘fix[ing] the

boundaries of [the] delegated authority. . .and ensuring the

agency has engaged in ‘“reasoned decisionmaking”’ within those

boundaries.”   Id. at 395 (citation omitted) (first quoting Henry

P. Monaghan, Marbury and the Administrative State, 83 Colum. L.

Rev. 1, 27 (1983); and then quoting Michigan, 576 U.S. at 750).

       The Plaintiffs identify a litany of statutes that they

claim violate Congress’s mandate to the Public Officials to

conduct research various areas such as women’s health, gender

identity, COVID, vaccination.     See DEI: 42 U.S.C. §§ 282(b)(4);

282(b)(8)(D)(ii), 282(h), 283o(b)(2), 285a-6; 285b-7a(c)(1),

285t(a), 285t(f)(1)(D); gender identity: 42 U.S.C. §283(p);

COVID-19: 42 U.S.C. §285f-5(a); vaccine hesitancy: 42 U.S.C.

§283d.   They also contend the DEI provision conflicts with

Congress’s mandate to embrace diversity.        See 42 U.S.C. §§

282(h), 287d(e), 283o(b)(2), 285(t)(a), 288(a)(4), 285t-1(a),

(b).   To be sure the ill-defined categories certainly can be

read to overlap these statutes.     Inasmuch as the Court has

declared the Public Officials’ actions arbitrary and capricious

and set them aside on that ground, it need not dive into the

contours of the statutory overlap.

       As for the Strategic Plan, as the Public Officials

correctly argue, they have, in fact, complied with that statute.

The Strategic Plan is evidence of how the NIH typically

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proceeds, giving guidance and providing researchers with

predictability on which to generally rely.           The Court rules that

the Challenged Directives do not contravene the statutory

requirement under 42 U.S.C. § 282(m) of a Strategic Plan, under

Section 706(2)(A), or Section 706(2)(C).           At the same time, the

Strategic Plan demonstrates that more than a sentence or two is

necessary to change priorities that wipe out categories of

research.

V.     CONCLUSION

       Every Administration has political priorities and enjoys

the ability to make policy changes.          But the agencies that

implement those changes have to have a reasoned and reasonable

explanation for doing so.       The Public Officials are not

prohibited from blacklisting a handful of categories of

research.     They must, however, comply with Congress’s mandate as

to research and other priorities, and even where the Public

Officials have discretion, they must provide a reasoned and

reasonable explanation.       The Public Officials in their haste to

appease the Executive, simply moved too fast and broke things,

including the law.      As previously ordered, partial separate and

final judgments have entered in favor of the Plaintiffs in the

‘10787 Action, ECF No. 138, and in the ‘10814 Action, ECF No.

151.    This Court was careful to limit the relief, as it must,

only to the parties before it.        See CASA, Inc., No. 24A884, 2025

                                       [102]
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WL 1773631, at *15 (U.S. June 27, 2025) (“When a court concludes

that the Executive Branch has acted unlawfully, the answer is

not for the court to exceed its power too.”)

SO ORDERED.

                                             __/s/ William G. Young__
                                               WILLIAM G. YOUNG
                                                     JUDGE
                                                    of the
                                                 UNITED STATES16




     16This is how my predecessor, Peleg Sprague (D. Mass. 1841-
1865), would sign official documents. Now that I’m a Senior
District Judge I adopt this format in honor of all the judicial
colleagues, state and federal, with whom I have had the
privilege to serve over the past 47 years.
                                    [103]
